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 7

 8                          UNITED STATES DISTRICT COURT
 9              CENTRAL DSITRICT OF CALIFORNIA, WESTERN DIVISION
10
     HDI GLOBAL SPECIALTY SE,    )                   CASE NO.
11                               )
              Plaintiff,         )
12                               )                   COMPLAINT FOR EQUITABLE
         v.                      )                   CONTRIBUTION, DECLARATORY
13                               )                   RELIEF AND DAMAGES
     FINANCIAL PACIFIC INSURANCE )
14   COMPANY,                    )
                                 )                   JURY TRIAL DEMANDED
15            Defendants.        )
                                 )
16

17         Plaintiff HDI GLOBAL SPECIALTY SE f/k/A INTERNATIONAL
18   INSURANCE COMPANY OF HANNOVER (“HDI” or “Plaintiff”) brings this
19   complaint for equitable contribution and declaratory relief pursuant to 28 U.S.C.
20   §1332 and 28 U.S.C. § 2201 et seq. against Defendant FINANCIAL PACIFIC
21   INSURANCE COMPANY (“FPIC” or “Defendant”) and in support thereof alleges as
22   follows:
23                                      JURISDICTION
24         1.     Jurisdiction is proper in this Court under federal diversity jurisdiction, 28
25   U.S.C. § 1332. The parties are completely diverse in citizenship and the amount in
26   controversy exceeds the statutory minimum of $75,000.
27         2.     An actual case or controversy exists between the parties under Article III
28   of the United States Constitution and 28 U.SC. § 2201, and HDI’s claim for

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 1   declaratory relief is ripe for review under 28 U.S.C. §§ 2201 and 2202 in that there is
 2   a substantial, actual and present controversy between the parties to this action having
 3   adverse legal interest of sufficient immediacy and reality to warrant the issuance of a
 4   declaratory judgment.
 5                                          PARTIES
 6         3.     At all times relevant herein, Plaintiff was and is an insurance company,
 7   engaged in the business of issuing commercial general liability insurance policies,
 8   domiciled and incorporated in the Country of Germany and thus is a foreign citizen
 9   for purposes of jurisdiction.
10         4.     At all times relevant herein, Defendant Financial Pacific Insurance
11   Company (“FPIC” or “Defendant”) was and is an insurance company domiciled in
12   the State of California and incorporated in the State of Iowa, and thus a citizen of
13   those states for purposes of jurisdiction.
14                                           VENUE
15         5.     Venue in this Court is proper under 28 U.S.C. § 1391(a)(2) because a
16   part of the events which are the subject and nexus of the claims asserted herein
17   concern underlying claims in Orange County, California regarding alleged
18   construction defects and property damage to real property and improvements thereon
19   in Orange County, California. Additionally, the alleged acts and/or omissions
20   covered by the insurance contracts at issue herein took place in this judicial district.
21                                   GENERAL ALLEGATIONS
22         6.     Plaintiff issued insurance policies including, but not limited to, policy
23   numbers IG011003013-3 (effective October 13, 2014 to October 13, 2015) and
24   IG012002553-04 (effective October 13, 2015 to October 13, 2016) affording liability
25   insurance to Varner Construction, Inc. (“Varner”) as named insured (the “HDI
26   Policies”). Varner is a subcontractor which performed work on the Portola Hills
27   Project (“Project”), located in Lake Forest, California.
28   ///

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 1         7.     Defendant issued insurance policy number 60418106, effective October
 2   1, 2014 to October 1, 2016 (“the FPIC Policy”) affording liability insurance to the
 3   following named insured: Thomas Bistline Construction, Inc. (“Bistline”). Bistline is
 4   a subcontractor which performed work on the Portola Hills Project.
 5         8.     Bistline and Varner each entered into subcontracts with Sunrise Pacific
 6   Construction, Inc. (“Sunrise”) and Baldwin & Sons, Inc. (“Baldwin”) to perform
 7   certain erosion control work with respect to the Portola Hills Project. During the
 8   course of Bistline’s and Varner’s work under the subcontracts, each allegedly
 9   negligently failed to install and maintain all best management practices and erosion
10   control measures at the Project as required by the planning documents, applicable
11   laws, rules and regulations. The erosion control measures allegedly failed during rain
12   events in the Autumn and Winter of 2015-2016. As a result, the City of Lake Forest
13   issued a Stop Work Order, a Notice of Violation, and a Cease and Desist Order and a
14   Notice of Abatement for the damages to property allegedly caused by the deficient
15   work. In addition, the California Regional Water Quality Control Board issued
16   Notices of Violation advising that Bistline’s and Varner’s failures led to property
17   damage. HDI is currently defending Sunrise and Baldwin against these claims as
18   additional insureds under the HDI Policies and has contributed more than $150,000
19   toward the defense of those entities.
20         9.     By virtue of subcontracts entered into for work at the Portola Hills
21   Project, Sunrise and Baldwin are also additional insureds under the FPIC Policies,
22   and the allegations against Sunrise and Baldwin give rise to FPIC’s duty to defend
23   those entities. A written tender of defense on behalf of Sunrise and Baldwin was sent
24   to FPIC on or about February 6, 2017. When FPIC failed to respond, follow up
25   letters demanding that FPIC agree to defend Sunrise and Baldwin were sent on or
26   about July 7, 2018, August 20, 2018, December 4, 2018, March 12, 2019, March 28,
27   2019, September 27, 2019, February 26, 2020 and March 9, 2020. FPIC has not
28   acknowledged its obligation to defend its additional insureds. FPIC is not

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 1   participating in the defense of Sunrise or Baldwin as required under the FPIC
 2   Policies.
 3                               FIRST CAUSE OF ACTION
 4                                    Equitable Contribution
 5          10.   Plaintiff incorporates by reference as though fully set forth herein the
 6   allegations in all of the preceding paragraphs.
 7          11.   Defendant had and has an obligation to defend Sunrise and Baldwin and
 8   to contribute, on an equitable basis, toward all fees, costs and expenses Plaintiff has
 9   incurred and is continuing to incur to defend Sunrise and Baldwin against the claims
10   described above.
11          12.   Defendants have failed to contribute their fair and equitable share toward
12   the fees and costs that have been incurred by Plaintiff in defending Sunrise and
13   Baldwin against the subject claims. The amount due from Defendant for its fair and
14   equitable share of attorneys’ fees and costs will be according to proof at trial.
15          13.   Defendant is obligated under principles of equity to reimburse Plaintiff
16   for the fees and costs that it has inequitably incurred in defending Sunrise and
17   Baldwin against the subject claims.
18          WHEREFORE, Plaintiff prays for judgment against Defendant as hereinafter
19   set forth.
20                              SECOND CAUSE OF ACTION
21                                     Equitable Indemnity
22          14.   Plaintiff incorporates by reference as though fully set forth herein the
23   allegations in all of the preceding paragraphs.
24          15.   Defendant has not paid its equitable share of the fees, costs and expenses
25   incurred to defend Sunrise and Baldwin against the subject claims.
26          16.   Plaintiff is entitled to reimbursement from Defendant of all sums
27   Plaintiff has paid in excess of its equitable share in connection with Sunrise’s and
28   Baldwin’s defense of the subject claims.

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 1          17.   Defendant is obligated under principles of equity to indemnify Plaintiff
 2   for the fees and costs that it has inequitably incurred in defending Sunrise and
 3   Baldwin against the subject claims.
 4          WHEREFORE, Plaintiff prays for judgment against Defendant as hereinafter
 5   set forth.
 6                               THIRD CAUSE OF ACTION
 7                                         Subrogation
 8          18.   Plaintiff incorporates by reference as though fully set forth herein the
 9   allegations in all of the preceding paragraphs.
10          19.   Pursuant to the terms, conditions, exclusions and endorsements of
11   Defendant’s Policies, Defendants had a duty to defend Sunrise and Baldwin against
12   the subject claims.
13          20.   Defendant has not paid its equitable share of defense expenses in
14   connection with the subject claims against Sunrise and Baldwin. Therefore,
15   Defendant owes amounts reimbursing Plaintiff for the fees and costs it has incurred in
16   the defense of Sunrise and Baldwin against the subject claims.
17          21.   Plaintiff is subrogated both by law and pursuant to the HDI Policies to
18   the rights of Sunrise and Baldwin against Defendant with respect to its failure to
19   provide for the defense of Sunrise and Baldwin against the subject claims.
20          22.   Defendant breached its duty to defend Sunrise and Baldwin by failing to
21   contribute to their defense fees and costs with respect to the subject claims.
22          23.   As a result of Plaintiff's payment of attorneys’ fees and costs as
23   described herein, Plaintiff has the equitable right of subrogation and/or
24   reimbursement from Defendant.
25          24.   As a result of the breach of Defendant’s legal and equitable duties,
26   Plaintiff has sustained injury in an amount according to proof at trial.
27          WHEREFORE, Plaintiff prays for judgment against Defendant as hereinafter
28   set forth.

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 1                              FOURTH CAUSE OF ACTION
 2                                      Declaratory Relief
 3          25.   Plaintiff incorporates by reference as though fully set forth herein the
 4   allegations in all of the preceding paragraphs.
 5          26.   Plaintiff contends, pursuant to the terms and endorsements of
 6   Defendant’s Policies, as well as equitable principles, that Defendant had a duty to
 7   defend Sunrise and Baldwin in connection with the subject claims, and that
 8   Defendant has not contributed towards the defense of Sunrise or Baldwin with respect
 9   to the subject claims.
10          27.   Plaintiff is informed and believes and on that basis alleges that
11   Defendant denies that it had a duty to defend Sunrise and/or Baldwin against the
12   subject claims and/or denies that it breached the duty to defend. By virtue of these
13   contentions, Defendant denies owing an obligation to contribute toward the defense
14   of Sunrise and Baldwin with respect to the subject claims.
15          28.   By reason of the foregoing, an actual controversy exists between the
16   parties, requiring a declaratory judgment of this Court.
17          29.   A judicial determination of this controversy is necessary and appropriate
18   in order for the parties to ascertain their rights, duties and obligations under
19   Defendant’s Policies.
20          WHEREFORE, Plaintiff prays for judgment against Defendants as hereinafter
21   set forth.
22                                  PRAYER FOR RELIEF
23          AS TO THE FOURTH CAUSE OF ACTION FOR DECLARATORY
24   RELIEF:
25          1.    For a declaration and determination that FPIC owed and continues to
26   owe a duty to defend Sunrise and Baldwin with respect to the subject claims, and to
27   reimburse HDI for defense fees and costs incurred on behalf of Sunrise and Baldwin
28   in connection with the subject claims;

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 1          2.     For a declaration and determination as to the amount that FPIC must pay
 2   to satisfy its obligations;
 3          3.     For monetary damages according to proof at trial;
 4          4.     For interest; and
 5          5.     For all other relief the Court deems just and proper.
 6         AS TO ALL CAUSES OF ACTION:
 7         1.     For monetary damages according to proof at trial;
 8         2.     For attorneys’ fees;
 9         3.     For interest; and
10         4.     For all other relief as the Court deems just and proper.
11         5.     AS TO ALL CAUSES OF ACTION: HDI demands a jury trial.
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     DATED: August 24, 2020                  MORALES, FIERRO & REEVES
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14
                                             BY: /s/ Marc Derewetzky
15                                             RAMIRO MORALES
                                               MARC J. DEREWETZKY
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                                               Attorneys for Plaintiff, HDI GLOBAL
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